UNITED STATES BANKRUPTCY COUR'I`

 

DISTRICT OF NEW MEXICO
In re:
KATHRYN RAMONA ESQUIBEL, _ “-ED c No. l7-lO498-j7
D b gt t 0 °'C`°ck apter 7
e tor,
MAR 21 2019
DAVID A. KELLY, united states bankruptcy Courf
Albuquerque. N€W Me“‘°°
Intervenor/ Objector
vs.
MARTIN LOPEZ III

Creditor Claimant.

NOTICE OF CLARIFICATION THAT JOI-IN SEXTON IS NOT ASSERTING ANY
OBJECTION TO THE CREDITOR CLAIM MARTIN LOPEZ III PC

[Trial Date: March 27 & 28, 2019 beginning 9 a.m.]

Comes now, John Sexton, and hereby gives NOTICE OF CLARIFICATION that he is
not asserting any objection to the creditor claim of Martin Lopez III PC (or any other creditor)
because he is not a party to the main bankruptcy proceeding and because the Court never found
that he had standing to pursue such claims. 'I'he issue of standing was raised earlier but the Court
never ruled on my standing _ choosing instead to found Mr. Kelly’s standing on his purchase of
the Border Law Firm claim. I assumed, that because I did not purchase a claim, the Court’s
ruling was tantamount to a denial of my assertion of standing
Resp_ectfully submitt ,

,- c,-,€ 7,§¢,

ohn Sexton
Defendant in Related Adversary Proceeding 17-1042-j
35t02 33"' circle
Rjo Rancho, NM 87124
505-414-7357

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